
*1175OPINION.
Lansdon:
The proof of the cost of the building, the nature of its construction, and the date of acquisition is conclusive. The Commissioner has allowed exhaustion, wear and tear at the rate of 2 per cent on the cost in 1901, and the petitioner agrees that such rate is reasonable. We are convinced that the unextinguished cost of the building at December 31,1920, was not less than $4,382.40, and that the salvage value of that part of such building utilized in the new structure was not more than $1,000. We are of the opinion, therefore, that the petitioner is entitled to deduct the amount of $3,842.40 from its gross income for the taxable year on account of loss sustained in the partial demolition and reconstruction of its building. Appeal of First National Bank of Evanston, 1 B. T. A. 9; Appeal of Steinbach Co., 3 B. T. A. 348.
The petitioner failed to prove the cost, the value at March 1, 1913, or the salvage value of the furniture and fixtures discarded in 1921. On this point the determination of the Commissioner is approved.
Judgment will be entered on 10 days’ notice, under Rule 50,
